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                 EXHIBIT 3
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ï
                         ×Ò ÌØÛ ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ ÝÑËÎÌ
î                         ÚÑÎ ÌØÛ ÒÑÎÌØÛÎÒ Ü×ÍÌÎ×ÝÌ ÑÚ ÑØ×Ñ
                                  ÛßÍÌÛÎÒ Ü×Ê×Í×ÑÒ
í
ì           ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
ë           ×Ò ÎÛæ ÒßÌ×ÑÒßÔ ÐÎÛÍÝÎ×ÐÌ×ÑÒ                      ÓÜÔ Ò±ò îèðì
            ÑÐ×ßÌÛ Ô×Ì×ÙßÌ×ÑÒ                                 Ý¿-» Ò±ò ïéó³¼óîèðì
ê
é           Ì¸·- ¼±½«³»²¬ ®»´¿¬»- ¬±æ                         Ö«¼¹» Ü¿²
                                                              ß¿®±² Ð±´-¬»®
è
            Ì¸» Ý±«²¬§ ±º Ý«§¿¸±¹¿ ªò Ð«®¼«»
ç           Ð¸¿®³¿ô ÔòÐòô »¬ ¿´ò
            Ý¿-» Ò±ò ïéóÑÐóìëððë
ïð
            Ý·¬§ ±º Ý´»ª»´¿²¼ô Ñ¸·± ª-ò Ð«®¼«»
ïï          Ð¸¿®³¿ô ÔòÐòô »¬ ¿´ò
            Ý¿-» Ò±ò ïèóÑÐóìëïíî
ïî
            Ì¸» Ý±«²¬§ ±º Í«³³·¬ô Ñ¸·±ô
ïí          »¬ ¿´ò ªò Ð«®¼«» Ð¸¿®³¿ô ÔòÐòô
            »¬ ¿´ò
ïì          Ý¿-» Ò±ò ïèóÑÐóìëðçð
            ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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ïé                                      ÊÑÔËÓÛ ×
ïè                      Ê·¼»±¬¿°»¼ Ü»°±-·¬·±² ±º Õ§´» Öò É®·¹¸¬
ïç                                  É¿-¸·²¹¬±²ô ÜòÝò
îð                                  Ú»¾®«¿®§ îèô îðïç
îï                                      çæíí ¿ò³ò
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îì          Î»°±®¬»¼ ¾§æ Þ±²²·» Ôò Î«--±
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                                   Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
     ©©©òª»®·¬»¨¬ò½±³                                                         èèèóíçïóííéê
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ï                        ÌØÛ É×ÌÒÛÍÍæ           Û¿®´·»® ¬±¼¿§ ©»
î           ¬¿´µ»¼ ¿¾±«¬ ¬¸» ¼·-¬®·¾«¬±® ¾®·»º·²¹ò                  ß²¼
í           ·²-·¼» ¬¸¿¬ ¼»¾®·»º·²¹ ·- ¬¸» ½±²¬»¨¬ ±® ¿
ì           ®»°»¿¬ ±º ¬¸» º»¼»®¿´ ®»¹«´¿¬·±²ò                Ì¸±-» ¿®»
ë           ¬¸» ½®·¬»®·¿ º±® -«-°·½·±«- ±®¼»®-ò
ê                        ß -«-°·½·±«- ±®¼»® ¼±»- ²±¬ ³»¿²
é           ¬¸¿¬ óó ¬¸»®»ù- ²±©¸»®» ·² ¬¸¿¬ ¼»º·²·¬·±² ±º
è           ¬¸» óó «²¼»® ÝÚÎ ±º ¿ -«-°·½·±«- ±®¼»® ±º
ç           -¿§·²¹ ·¬ ®»¿½¸»¼ ¿ ¾»²½¸ óó ¿®¾·¬®¿®§
ïð          ¾»²½¸³¿®µò     Ì¸¿¬ù- ¬¸» ¼·ºº»®»²½» ¾»¬©»»²
ïï          »¨½»--·ª» ¿²¼ -«-°·½·±«-ò
ïî                       ÞÇ ÓÎò ÑùÝÑÒÒÑÎæ
ïí                Ïò     Ñµ¿§ò     ×- ·¬ º¿·® ¬± -¿§ ¬¸¿¬ ²±¬
ïì          ¿´´ ±®¼»®- ®»°±®¬»¼ ¿- -«-°·½·±«- ¿®» ´·µ»´§ ¬±
ïë          ¾» ¼·ª»®¬»¼á
ïê                       ÓÎò ÞÛÒÒÛÌÌæ           Ñ¾¶»½¬·±²ò
ïé                       ÌØÛ É×ÌÒÛÍÍæ           ×ù³ ¹±·²¹ ¬±
ïè          ®»¹«®¹·¬¿¬» §±«® ¯«»-¬·±² ¬± §±«ò
ïç                       Ì¸¿¬ §±«ù®» -¿§·²¹ ¬¸¿¬ ¿ -«-°·½·±«-
îð          ±®¼»® ¼±»- ²±¬ ²»½»--¿®·´§ ³»¿² ¬¸¿¬ ¬¸»®»ù- ¿²
îï          ·´´·½·¬ ¿½¬ò
îî                       ÓÎò ÑùÝÑÒÒÑÎæ           Ñµ¿§ò
îí                       ÓÎò ÍØÕÑÔÒ×Õæ           Ñ¾¶»½¬ ¬± ¬¸» º±®³ ±º
îì          ¬¸» ®»º±®³·²¹ ±º ¬¸» ¯«»-¬·±²ò
îë                       ÓÎò ÑùÝÑÒÒÑÎæ           Ç±«® óó §±«®

                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
     ©©©òª»®·¬»¨¬ò½±³                                                 èèèóíçïóííéê
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                                                                 Ð¿¹» îðè

ï           ±¾¶»½¬·±² ©¿- ¬± ¸·- ¯«»-¬·±²á
î                        ÓÎò ÍØÕÑÔÒ×Õæ          Ç»-ò
í                        ÓÎò ÑùÝÑÒÒÑÎæ          ß´´ ®·¹¸¬ò
ì                        ÞÇ ÓÎò ÑùÝÑÒÒÑÎæ
ë                 Ïò     É·¬¸ ®»-°»½¬ ¬± ¬¸» -«-°·½·±«-
ê           ±®¼»®- ¬¸¿¬ ©»®» ®»°±®¬»¼ ¬± ÜÛßô ·- ·¬ º¿·® ¬±
é           -¿§ ¬¸¿¬ ¬¸»®» ©»®» ¿ ´¿®¹» ²«³¾»® ±º º¿´-»
è           °±-·¬·ª»-á
ç                        ÓÎò ÞÛÒÒÛÌÌæ          Ñ¾¶»½¬·±² ¬± º±®³ò
ïð                       ÌØÛ É×ÌÒÛÍÍæ          Þ»½¿«-» ¿ -«-°·½·±«-ô
ïï          ¬¸»®» ½±«´¼ ¾» ¿ º¿´-» °±-·¬·ª»ò               ß- ¬± ¬¸»
ïî          ¯«¿²¬·¬§ô × ½¿²²±¬ -¬·°«´¿¬»ò
ïí                       ÞÇ ÓÎò ÑùÝÑÒÒÑÎæ
ïì                Ïò     ×-²ù¬ ·¬ ¬®«» ¬¸¿¬ ¬¸»®» ©»®» ¿
ïë          ´¿®¹» ²«³¾»® ±º -«-°·½·±«- ±®¼»®- ¬¸¿¬ ©»®»
ïê          ®»°±®¬»¼ ¬± ÜÛß ¬¸¿¬ ©»®» ²±¬ô ·² º¿½¬ô ´·µ»´§
ïé          ¬± ¾» ¼·ª»®¬»¼á
ïè                       ÓÎò ÞÛÒÒÛÌÌæ          Ñ¾¶»½¬·±² ¬± ¬¸» º±®³ò
ïç                       ÌØÛ É×ÌÒÛÍÍæ          × µ²±© óó
îð                       ÞÇ ÓÎò ÑùÝÑÒÒÑÎæ
îï                Ïò     Ç±« ½¿² ¿²-©»® ¬¸» ¯«»-¬·±²ò
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îí          ß- ¬± ¬¸» »¨¬»²¬ ±º ¬¸¿¬ ¯«¿²¬·¬§ ¾»·²¹ ´¿®¹»
îì          ±® ²±¬ ´¿®¹»ô × ¼±²ù¬ µ²±©ò
îë                       ÓÎò ÑùÝÑÒÒÑÎæ          ß´´ ®·¹¸¬ò      ×ù³ ¹±·²¹

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     ©©©òª»®·¬»¨¬ò½±³                                                 èèèóíçïóííéê
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ï           ³¿®µ Û¨¸·¾·¬ Ò±ò îçò
î                        øÜ»°±-·¬·±² Û¨¸·¾·¬ îç ©¿- ³¿®µ»¼
í           º±® ·¼»²¬·º·½¿¬·±²ò÷
ì                        ÓÎò ÑùÝÑÒÒÑÎæ            Ý±«²-»´ô ½±«´¼ ¬¸»
ë           ©·¬²»-- ®»¿¼ ¸·- ½±°§á
ê                        ÓÎò ÞÛÒÒÛÌÌæ           Ù·ª» ³» ±²» -»½±²¼ò
é                        ÓÎò Ó×ÙÔ×ÑÎ×æ            Ç±« -¿·¼ îçô ®·¹¸¬á
è                        ÓÎò ÑùÝÑÒÒÑÎæ            Ç»¿¸ò    Û¨¸·¾·¬ îçò
ç           ß²¼ º±® ¬¸» ®»½±®¼ô ·¬ù- ËÍ ÜÛß ððððéêçïò
ïð                       ÓÎò ÞÛÒÒÛÌÌæ           Ü±²ù¬ ¿²-©»® ¿²§¬¸·²¹
ïï          §»¬ò
ïî                       ÞÇ ÓÎò ÑùÝÑÒÒÑÎæ
ïí                 Ïò    Ì¸·- ·- ¿² »ó³¿·´ »¨½¸¿²¹» ¾»¬©»»²
ïì          §±« ¿²¼ Î«¬¸ Ý¿®¬»®ô ½±®®»½¬á
ïë                       ÓÎò ÞÛÒÒÛÌÌæ           Ý±«²-»´ô ¸¿²¹ ±² ±²»
ïê          -»½±²¼ò     É»ù®» ¸¿ª·²¹ ·¬ ®»ª·»©»¼ ¾§ ÜÛß
ïé          ½±«²-»´ ¬± -»» ·º ¬¸»®»ù- ¿²§ ¾¿-·- º±® ¿²§
ïè          ±¾¶»½¬·±²- ±® ¿²§ ½±²½»®²- ©·¬¸ ¬¸·- ¼±½«³»²¬ò
ïç                       Ý¿² ©» ¸±´¼ ±ºº ±² ¬¸» ¯«»-¬·±² º±®
îð          ¿ ³±³»²¬ô °´»¿-»ò
îï                       ÓÎò ÑùÝÑÒÒÑÎæ            Í«®»ò
îî                       ÓÎò ÞÛÒÒÛÌÌæ           Ì¸¿²µ §±«ò
îí                       Ì± ¬¸» »¨¬»²¬ ¬¸¿¬ ¬¸·- ³¿§ ®»º»® ¬±
îì          ¿ -°»½·º·½ ·²ª»-¬·¹¿¬·±²ô ¬¸» ©·¬²»-- ·- ²±¬
îë          ¿«¬¸±®·¦»¼ ¬± ¿²-©»® ¿²§ ¯«»-¬·±²- ¿¾±«¬ ¬¸¿¬

                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
     ©©©òª»®·¬»¨¬ò½±³                                                 èèèóíçïóííéê
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î                 ßò     × ¸¿ª» ®»½±´´»½¬·±² ²±¬ ±º ¿´´ ¬¸»
í           ½±²¬»¨¬ô ¾«¬ §»-ò
ì                 Ïò     Ñµ¿§ò     ß²¼ ¼± §±« -»» ¸¿´º©¿§ ¼±©²
ë           ¿² »ó³¿·´ º®±³ §±« ¼¿¬»¼ Ö¿²«¿®§ íï-¬ô îðïéô ¿¬
ê           ëæíî °ò³òá
é                 ßò     É¸»®» ¼± ©» -»» ëæíî °ò³òá
è                        Ç»-ò
ç                 Ïò     Ñµ¿§ò     ß²¼ ©±«´¼ §±« ³·²¼ ¶«-¬
ïð          ®»¿¼·²¹ ¬¸¿¬ »ó³¿·´ º±® ¬¸» ®»½±®¼ò
ïï                       ÓÎò Ó×ÙÔ×ÑÎ×æ           Ñ¾¶»½¬·±²ò
ïî                       ÌØÛ É×ÌÒÛÍÍæ           þÌ¸» ÉÜÑô ±² ¿ ³±²¬¸´§
ïí          ¾¿-·-ô ¼±©²´±¿¼- ¿´´ ÍÑÎÍ ®»°±®¬- º®±³ ¬¸»
ïì          °®»ª·±«- ³±²¬¸ô ½±²¼«½¬- ¬¸» ¿²¿´§-·- ±º ¬¸±-»
ïë          ÍÑÎÍ ¬± »´·³·²¿¬» ´¿®¹» ²«³¾»® ±º º¿´-»
ïê          °±-·¬·ª»-ô ¿²¼ ¬¸»² ¿--·¹²- ±«¬ ¬¸»
ïé          ³·-½»´´¿²»±«- ¿--·¹²³»²¬-ô ¬¸±-» ¬¸¿¬ ¸¿ª»
ïè          ·²ª»-¬·¹¿¬·ª» °±¬»²¬·¿´ò               × °®»ª·±«-´§ °¿--»¼
ïç          ¬¸·- ´·²µ ¬± ¬¸» ÙÍ- ©·¬¸·² ¬¸» ¼·ª·-·±² ¬±
îð          ·²½´«¼» ²»©´§ ¿--·¹²»¼ ÙÍ Õ»´´«³ º±® ¬¸»·®
îï          ·²º±®³¿¬·±²òþ
îî                       ÞÇ ÓÎò ÑùÝÑÒÒÑÎæ
îí                Ïò     Ñµ¿§ò     ß²§ ®»¿-±² ¬± ¬¸·²µ ¬¸¿¬
îì          »ó³¿·´ óó ·¬ ©¿-²ù¬ ¿½½«®¿¬» ¿¬ ¬¸» ¬·³» §±«
îë          ©®±¬» ·¬á

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ï                 ßò    Ò±ò
î                 Ïò    Ñµ¿§ò     Ý«®·±-·¬§æ           É¸¿¬ ·- ¬¸» ÉÜÑá
í                 ßò    É¿-¸·²¹¬±² ¼·-¬®·½¬ ±ºº·½»ò
ì                 Ïò    Ñµ¿§ò     Ñµ¿§ò        É¸»² §±« -¿·¼ ·² ¬¸·-
ë           »ó³¿·´ ¬¸¿¬ ¬¸»®» ©»®» ¿ ´¿®¹» ²«³¾»® ±º º¿´-»
ê           °±-·¬·ª»-ô ¬¸¿¬ ®»º»®®»¼ ¬± ±®¼»®- ¬¸¿¬ ©»®»
é           ®»°±®¬»¼ ¬± -«-°·½·±«- ¾«¬ ©»®» ²±¬ ´·µ»´§ ¬±
è           ¾» ¼·ª»®¬»¼ô ½±®®»½¬á
ç                       ÓÎò ÞÛÒÒÛÌÌæ           Ñ¾¶»½¬·±²ò     Ú±®³ ±º
ïð          ¬¸» ¯«»-¬·±²ò
ïï                      ÌØÛ É×ÌÒÛÍÍæ           Ì¸» ©±®¼ þ¼·ª»®¬»¼þ
ïî          ³»¿²- ¿² ¿½¬ ¬¸¿¬ ·¬ óó ³§ «²¼»®-¬¿²¼·²¹ ±º ¬¸»
ïí          ©±®¼ þ¼·ª»®¬»¼þ ³»¿²- ¿² ¿½¬ ¬¸¿¬ ¸¿- ¿´®»¿¼§
ïì          ¾»»² º«´º·´´»¼ò       ×¬ù- óó ·¬ù- óó ·¬ù- ¾»»²
ïë          ¬¿µ»² ±«¬ óó ¬¿µ»² ±«¬ ±º ¬¸·- ½´±-»¼ -§-¬»³ ±º
ïê          ¼·-¬®·¾«¬·±²ò
ïé                      ÓÎò ÑùÝÑÒÒÑÎæ           Ñµ¿§ò
ïè                      ÌØÛ É×ÌÒÛÍÍæ           ×¬ ¼±»-²ù¬
ïç          ²»½»--¿®·´§ óó -±«®½» ¼±»- ²±¬ ³»¿² óó ±®
îð          -«-°·½·±«- ±®¼»® ¼±»- ²±¬ ·³°´§ ¬¸¿¬ò                 ×¬
îï          ·³°´·»- ¬¸¿¬ ¬¸»®» ¿®» -«-°·½·±²- ¬¸¿¬ ²»»¼ ¬±
îî          ¾» ®»-±´ª»¼ò      ß²±³¿´·»- »¨·-¬ò
îí                      ÞÇ ÓÎò ÑùÝÑÒÒÑÎæ
îì                Ïò    Ñµ¿§ò     Þ«¬ ¾»·²¹ ®»°±®¬»¼ ¿-
îë          -«-°·½·±«- ¼±»- ²±¬ ·³°´§ ²»½»--¿®·´§ ¬¸¿¬ ·¬

                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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ï           ©·´´ ¾» ¼·ª»®¬»¼ô ½±®®»½¬á
î                 ßò     ×¬ ¼±»- ²±¬ ·³°´§ ¬¸¿¬ô ²±ò
í                 Ïò     Û¿®´·»® ¬±¼¿§ ©» ¬¿´µ»¼ ¿ ´·¬¬´» ¾·¬
ì           ¿¾±«¬ óó ±® ¿¾±«¬ ßÎÝÑÍ ¼¿¬¿ò
ë                        ß¬ ±²» °±·²¬ §±« ©»®» ¬¸» «²·¬ ½¸·»º
ê           º±® ¬¿®¹»¬·²¹ ¿²¼ ¿²¿´§-·-ô ½±®®»½¬á
é                 ßò     Ý±®®»½¬ò
è                 Ïò     ß²¼ ¬¸¿¬ «²·¬ ·- ®»-°±²-·¾´» º±®
ç           ßÎÝÑÍ ¼¿¬¿å ·- ¬¸¿¬ º¿·®á
ïð                ßò     ×¬ ·- ®»-°±²-·¾´» º±® ¬¸» ±«¬°«¬
ïï          -·¼» ±º óó ¿²¼ ³¿µ·²¹ ¬¸» ·²º±®³¿¬·±² ¿ª¿·´¿¾´»
ïî          ¿- ²»»¼»¼ º±® ¿²¿´§¬·½¿´ -¬«¼·»-ô
ïí          ·²ª»-¬·¹¿¬·±²-ò        Þ«¬ ·¬ ·- ²±¬ ®»-°±²-·¾´» º±®
ïì          ¬¸» ·²°«¬ -·¼»ò
ïë                Ïò     Ñµ¿§ò     É¸¿¬ ¼± §±« ³»¿² ¾§ þ¬¸»
ïê          ±«¬°«¬ -·¼»þá
ïé                ßò     Ñ«¬°«¬ ¬¸» °®±¼«½¬ ¸¿- ¾»»²
ïè          º·²¿´·¦»¼ò
ïç                Ïò     Ñµ¿§ò     É±«´¼ ¬¸¿¬ ®»º»® ¬± ®»°±®¬-
îð          ¬¸¿¬ ¿®» ¹»²»®¿¬»¼ º®±³ ßÎÝÑÍ ±® -±³»¬¸·²¹
îï          »´-»á
îî                ßò     Ì¸» ·²º±®³¿¬·±² ¸¿- ¹±²» ¬¸®±«¹¸ ¬¸»
îí          ·²°«¬ -·¼»ô ©¸·½¸ ¼±»- -»ª»®¿´ ½¸»½µ- ¬± ³¿µ»
îì          -«®» ¬¸¿¬ ¬¸» ¼¿¬¿ ½±«´¼ ¾» «-»¼ ¿²¼ ®»½»·ª»¼
îë          °®±°»®´§å ·¬ù- ¾»»² ®»°±®¬»¼ °®±°»®´§ò

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ï                        Ì¸»² ±²½» ·¬ ¹±»- ¬¸®±«¹¸ ¬¸» º±®³
î           ¬¸¿¬ ¬¸»§ ®»°±®¬ô ·¬ ¬¸»² ¸¿- ¬± ¹± óó ¿² ÒÜÝ
í           ²«³¾»® ·- ©¸¿¬ ¬¸»§ ®»°±®¬ ©·¬¸ ²± ¼»-½®·°¬·±²ò
ì           É¸»² ·¬ ½±³»- ¬± ³»ô ·¬ù- ¬¸» ÒÜÝ ¿²¼ ¬¸»² ¬¸»
ë           º«´´ ¼»-½®·°¬·±²ò
ê                        ×¬ ·- ¬¸» ®»¹·-¬®¿²¬ù- ÜÛß ²«³¾»®ò
é           Ì¸¿¬ù- ·¬ò     Ó·²» ·- ¬¸» ½®±--ó®»º»®»²½» ¬± ¬¸»
è           ÝÍßô ©¸·½¸ ¹·ª»- ³» óó ¬»´´- ³» ¬¸¿¬ ·¬ù- ¿
ç           °¸¿®³¿½§ ±® óó ±® óó ±® ©¸¿¬»ª»®ò
ïð                       Ñ²½» ·¬ ½±³»- ¬± ³»ô ¬¸»² ¬¸» ¼¿¬¿
ïï          ·- ¿ª¿·´¿¾´» º±® ±«® «-»ò
ïî                Ïò     ß²¼ ©¸¿¬ ©¿- ¬¸» °«®°±-» ±º §±«® «-»
ïí          ±º ¬¸» ¼¿¬¿á
ïì                ßò     Ì± -«°°±®¬ ·²ª»-¬·¹¿¬·±²- ¿²¼ ¬±
ïë          ¼»¬»®³·²» ·º × -¿© ¿²§ ±«¬´·»®-ô ¿²±³¿´·»- ¬¸¿¬
ïê          × óó ³§ ¹®±«°ô ³§ «²·¬ º»´¬ ©»®» »¹®»¹·±«-
ïé          »²±«¹¸ ¬± ©¿®®¿²¬ º«®¬¸»® ·²ª»-¬·¹¿¬·±²ò
ïè                Ïò     ß²¼ ¸±© ©±«´¼ §±«® ¹®±«° ¹±·²¹ ¿¾±«¬
ïç          óó ¹± ¿¾±«¬ ¼»¬»®³·²·²¹ ©¸»¬¸»® ¬¸»§ù®»
îð          »¹®»¹·±«- »²±«¹¸ ¬± ©¿®®¿²¬ º«®¬¸»®
îï          ·²ª»-¬·¹¿¬·±²á
îî                       ÓÎò ÞÛÒÒÛÌÌæ          Ñ¾¶»½¬ò     Ì¸» ©·¬²»--
îí          ·- ·²-¬®«½¬»¼ ¬¸¿¬ §±« ³¿§ ²±¬ ¬¿´µ ¿¾±«¬
îì          ½±²º·¼»²¬·¿´ ´¿© »²º±®½»³»²¬ ¬»½¸²·¯«»- ¬¸¿¬
îë          §±« «-»¼ò

                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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